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13    Attorneys for Plaintiffs
14
                                 UNITED STATES DISTRICT COURT
15                           EASTERN DISTRICT OF CALIFORNIA
16
17         Estate of JOHNATHAN ROSE, deceased, by           NO. 2:13-CV-01339-TLN-EFB
           and through his parents THEODORE
18         MILTON ROSE and KAREN ROSE, as
           successors in interest; THEODORE MILTON          STIPULATION AND ORDER
19                                                          EXTENDING THE DEADLINE TO
           ROSE, Individually; and KAREN ROSE,
                                                            FILE A MOTION FOR
20         individually.                                    ATTORNEY FEES
21                      Plaintiffs,
22               vs.
23
           COUNTY OF SACRAMENTO and
24         Sacramento County Sheriff’s Department
           Deputy DAVID McENTIRE (Badge #1356),
25
                       Defendants.
26
           _________________________________
27   ///
28


     STIPULATION AND ORDER EXTENDING THE DEADLINE TO FILE
     A MOTION FOR ATTORNEY FEES                                                            1
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 1          This Stipulation and Proposed Order is to supersede the Stipulation and Order that is
 2   Docket No. 196 regarding the date by which a motion for attorney fees must be filed.
 3          Plaintiffs, Estate of Johnathan Rose, by and through his parents Theodore Milton
 4   Rose and Karen Rose, as successors in interest, Theodore Milton Rose, individually, and
 5   Karen Rose, individually, are represented by Stewart Katz of the Law Office of Stewart
 6   Katz, Moseley C. Collins, III of the Law Office of Moseley C. Collins, III and Dale K.
 7   Galipo of the Law Office of Dale K. Galipo. Defendants County of Sacramento and David
 8   McEntire (“Defendants”) are represented by Van Longyear of Longyear, O’Dea & Lavra,
 9   LLP and Daniel J. Gonzalez of Horvitz & Levy LLP.
10          The parties stipulate that any motion for attorney fees shall be filed on or before
11   October 31, 2018.
12          The purpose of this stipulation is to facilitate the continuing discussions between
13   the parties regarding the resolution of all issues in this case, notwithstanding the notices of
14   appeal which have been filed. The parties have made some progress towards resolution but
15   it has been a slow process. The parties believe that this stipulation increases the likelihood
16   of a negotiated resolution being reached.
17
     Dated: September 24, 2018             LAW OFICE OF STEWART KATZ
18
19                                         /s/ Stewart Katz
                                           STEWART KATZ
20                                         Attorney for Plaintiffs
21
     Dated: September 24, 2018             LONGYEAR, O’DEA & LAVRA, LLP
22
                                           /s/ Van Longyear
23
                                           VAN LONGYEAR
24                                         Attorneys for Defendants

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     STIPULATION AND ORDER EXTENDING THE DEADLINE TO FILE
     A MOTION FOR ATTORNEY FEES                                                                   2
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 1                                     ORDER
 2         IT IS SO ORDERED.
 3
 4
 5   Dated: September 26, 2018
 6
 7
 8                                 Troy L. Nunley
                                   United States District Judge
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     STIPULATION AND ORDER EXTENDING THE DEADLINE TO FILE
     A MOTION FOR ATTORNEY FEES                                           3
